EXHIBIT A

 
Office for Civil Rights and Civil Liberties
U.S. Department of Homeland Security
Washington, DC 20528

 

February 21, 2020
Via electronic mail

Rahul Manchanda

Manchanda Law Office PLLC

30 Wall Street, 8th Floor Suite 8207
New York, NY 10005
info@manchanda-law.com

Re: | Complaint No. 20-05-USCIS-0393
Sylwia Manchanda

Dear Rahul Manchanda:

On February 14, 2020, the Department of Homeland Security (DHS) Office for Civil Rights and Civil
Liberties (CRCL) received your complaint on behalf of Sylwia Manchanda. Thank you for contacting
us with your concerns. Under 6 U.S.C. § 345 and 42 U.S.C. § 2000ee-1, CRCL reviews and assesses
information concerning abuses of civil rights, civil liberties, and profiling on the basis of race,
ethnicity, or religion, by employees and officials of DHS. CRCL also reviews allegations that DHS
employees, programs, or activities discriminated on the basis of disability under Section 504 of
the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794.

The issues you raise are very important to us, and we would like to inform you how your complaint
will be processed by CRCL. Initially, we will send your complaint to the DHS Office of Inspector
General (OIG) for review. If OIG declines to accept the complaint, it will be returned to CRCL for
an appropriate response. Once CRCL opens a formal complaint, either we or the appropriate DHS
component will conduct an investigation into your concerns. CRCL may contact you during the
course of investigation of your complaint. We will ultimately notify you of the outcome of the
investigation.

Please be advised that our complaint process does not provide individuals with legal rights or
remedies. Accordingly, CRCL is not able to obtain any legal remedies or damages on your behalf.
Instead, we use complaints like yours to find and address problems in DHS policy and its
implementation. If you believe your rights have been violated, you may wish to consult an attorney.
There may be time limitations that govern how quickly you need to act to protect your interests.

If you have not already done so, please provide CRCL with your complete contact information,
including a phone number, email address, and mailing address if available, and your alien number if
applicable. You may contact CRCL by email at crclcompliance@hq.dhs.gov, by facsimile at
202-401-4708, or by mail at the following address:
Department of Homeland Security

Office for Civil Rights and Civil Liberties
Compliance Branch

245 Murray Lane, SW

Building 410, Mail Stop 0190
Washington, DC 20528

For additional information about CRCL’s roles and responsibilities, please visit our website at

www.dhs.gov/erel.

If you are filing a complaint on behalf of someone else, please provide CRCL with the express
written consent of the individual if you would like to be informed about the resolution of this
complaint, if you have not already done so.

When communicating with CRCL about this matter, please include the complaint number noted at
the top of this letter.

Please note that Federal law forbids retaliation or reprisal by any Federal employee against a person
who makes a complaint or discloses information to CRCL. 42 U.S.C. § 2000ee-I(e). If you believe
that you or someone else is a victim of such a reprisal, please contact us immediately.

Thank you again for contacting CRCL. Communications like yours are essential to our ability to
carry out our role of supporting the DHS's mission to secure the nation while preserving individual
liberty, fairness, and equality under the law. We look forward to working with you to address your
concerns. If you have questions, please contact us either in writing or by phone at 866-644-8360,
866-644-8361 (TTY).

Sincerely,

Office for Civil Rights and Civil Liberties
U.S. Department of Homeland Security

 
Privacy Act Statement
Authority: 6 U.S.C. § 345 and 42 U.S.C. § 2000ee-1 authorizes the collection of this information.

Purpose: The Department of Homeland Security (DHS) will use this information to review and investigate complaints
and information from the public about possible violations of civil rights and/or civil liberties relating to DHS employees,
programs, or activities.

Routine Uses: This information may be disclosed to and used by personnel and contractors within DHS who have a
need to know the information in order to review your complaint. The DHS Office for Civil Rights and Civil Liberties
(CRCL) may also share your information, as necessary, with appropriate government agencies outside of DHS or with
non-government entities to address your complaint, or pursuant to its published Department of Homeland Security/
ALL-029 Civil Rights and Civil Liberties Records System of Records.

Disclosure: Furnishing this information to CRCL is voluntary; however, failure to furnish the requested information
may delay or prevent CRCL from adequately reviewing and investigating your complaint. If necessary, CRCL may also
request additional information from you in order to determine the appropriate manner to address your concerns.

To learn more about the Privacy Act, go to www.dhs.gov/privacy.

 
